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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

MUNA AL-SUYID, et al.,                    )
                                          )
                  Plaintiffs,             )
                                          )
v.                                        )
                                          )                   Case No. 1:20-cv-170 (LMB/JFA)
KHALIFA HIFTER, et al.,                   )
                                          )
                  Defendants.             )
__________________________________________)


                    NOTICE BY THE UNITED STATES OF AMERICA

       On October 26, 2020, this Court transmitted a letter to the United States Department of

State, soliciting its input concerning the above-captioned action and another civil action, Aida

Elzagally, et al. v. Khalifa Hifter, et al., Case No. 1:19-cv-853 (LMB/MSN). Letter, Dkt. No.

53. Specifically, the Court “invited” the State Department “to communicate its views on whether

these actions should proceed in this court.” Id. 2. The Court directed that “[i]f the State

Department wishes to do so . . . its views should be received on or before January 4, 2021.” Id.

        The State Department appreciates the Court’s invitation to express its views. At this

time, however, the United States declines to file a Statement of Interest pursuant to 28 U.S.C. §

517.

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Dated: January 4, 2021                    Respectfully submitted,

                                          G. ZACHARY TERWILLIGER
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                                                 /s/
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